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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case 1:19-cr-00018-ABJ

UNITED STATES OF AMERICA,

      v.

ROGER J. STONE, JR.,

      Defendant.
_____________________________/

       DEFENDANT ROGER STONE’S SENTENCING MEMORANDUM AND
          MOTION FOR VARIANCE FROM ADVISORY GUIDELINES
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         DEFENDANT ROGER STONE’S SENTENCING MEMORANDUM AND
            MOTION FOR VARIANCE FROM ADVISORY GUIDELINES

        Defendant, Roger J. Stone, Jr., files this Sentencing Memorandum, pursuant to 18 U.S.C.

§ 3553 and 18 U.S.C. § 3661, in advance of his sentencing, which is scheduled for February 20,

2020.

                                       INTRODUCTION

        Roger Stone stands before the Court for sentencing, having been convicted by a jury of

Count I, Obstruction of Proceeding (18 U.S.C. § 1505); Counts II – VI, False Statements (18

U.S.C. § 1001(a)(2)); and Count VII, Witness Tampering (18 U.S.C. § 1512(b)(1)).

        Stone, United States Probation, and the Government agree that, under the United States

Sentencing Guidelines, the offenses of conviction are grouped, pursuant to U.S.S.G. § 3D1.2(b),

and that the controlling guideline is U.S.S.G. § 2J1.2. The parties further agree that the base

offense level is 14, which, for Stone, who the parties agree is in Criminal History Category I, has

a corresponding advisory range of imprisonment of 15-21 months.

        Probation and the Government, however, incorrectly maintain that the following offense

level increases are applicable:

    Specific Offense Characteristics U.S.S.G. §2J1.2(b)(1)(B)       8 level increase       ¶761

    Specific Offense Characteristics U.S.S.G. §2J1.2(b)(1)(2)       3 level increase       ¶77

    Obstruction of Justice            U.S.S.G. §3C1.1               2 level increase       ¶80

    Obstruction of Justice2           U.S.S.G. §2J1.2(b)(3)(C)      2 level increase       ¶77




1
       Paragraph references are to the Presentence Investigation Report, dated January 16, 2020,
(“PSR”). [Dkt. #272].
2
       Government’s Objection to Presentence Investigation Report, dated January 30, 2020.
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       For the reasons set forth below, Stone maintains that the total offense level is 14 and that

the 15 offense-level increases for which Probation and the Government advocate are inapplicable

under the law and the facts of this case. Accordingly, Stone submits that the Court should find

that his total offense level is 14 with a corresponding range of imprisonment of 15-21 months.

Stone further respectfully submits that a sentence below the advisory Guidelines range of 15-21

months would be “sufficient but not greater than necessary to comply with the purposes of

sentencing.” 18 U.S.C. § 3553(a); See Kimbrough v. United States, 552 U.S. 85 (2007); Gall v.

United States, 552 U.S. 38 (2007); United States v. Booker, 543 U.S. 220, 125, S. Ct. 738, 765,

160 L. Ed. 2d 621 (2005).

       In the sections that follow, we address (a) the calculation of the sentencing Guidelines and

the reasons that the offense level increases that Probation and the Government seek are

inapplicable (the offense conduct is discussed as relevant throughout this section); and (b) the

factors under 18 U.S.C. § 3553(a) that warrant a downward variance from the applicable

Guidelines range of 15-21 months imprisonment.

I.     The Court Should Find that Stone’s Total Guidelines Offense Level is 14.

       As noted above, the parties agree that, pursuant to U.S.S.G. § 3D1.2, the seven counts of

conviction constitute a single group and that § 2J1.2 is the applicable guideline, which has a base

offense level of 14. For the reasons discussed below, the facts of this case do not warrant the

application of any offense level increases.

       A. An Eight Level Increase for Threatening Physical Injury or Property Damage (§
          2J1.2(b)(1)(B)) Is Unjustified.

       An eight-level increase, pursuant to U.S.S.G. § 2J1.2(b)(1)(B), is inapplicable here because

Roger Stone did not threaten to physically injure Randy Credico or damage Credico’s property, in

the manner contemplated by the guideline and relevant case law.

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       United States Sentencing Guidelines § 2J1.2(b)(1)(B) provides “[i]f the offense involved

causing or threatening physical injury to a person, or property damage, in order to obstruct the

administration of justice, increase by 8 levels.” The function of § 2J1.2(b)(1) is “to distinguish

threats of physical injury or property damage from lesser threats.” United States v. Duarte, 28 F.3d

47 (7th Cir. 1994). The eight-level increase does not apply to the facts here, because, as explained

in United States v. Calvert, 511 F.3d 1237 (9th Cir. 2008), the increase is applicable in only those

cases that involve more serious forms of obstruction:

               [I]t must not be forgotten that for the eight-level enhancement to
               apply, the Guideline requires that the intent to retaliate have been
               carried out in a particular manner; The defendant must have caused
               or threatened to cause property damage or physical injury to the
               witness. Trivial retaliatory acts will not do; the enhancement is
               reserved for serious acts used “as a means of intimidation.” U.S.S.G.
               §2J1.2 cmt. application note 5. This point is picked up by the
               Guideline’s commentary that “[t]he specific offense characteristics
               [found in section 2J1.2(b)(1)-(2)] reflect the more serious forms of
               obstruction.” U.S.S.G. §2J.1 cmt. background (emphasis added).
               Indeed, even this “serious form” of obstruction captured in
               §2J1.2(b)(1) is considered a floor, as the Guideline’s application
               notes reference the possibility for a further upward departure “[i]f a
               weapon was used, or bodily injury or significant property damage
               resulted.” U.S.S.G. §2J1.2 cmt. application note 4.

Id. at 1242 (9th Cir. 2008) (emphasis in original).

       Randy Credico made it clear, in both a post-trial letter to the Court and in his trial testimony

that he did not consider anything that Stone said to constitute a threat. In his letter to the Court for

consideration at sentencing, Credico wrote: “I never in any way felt that Stone himself posed a

direct physical threat to me or to my dog. I chalked up his bellicose tirades to ‘Stone being Stone.’

All bark and no bite!” [Dkt. #273] (emphasis supplied).

       Similarly, his trial testimony makes plain that there can be no serious dispute as to the fact

that Roger Stone did not threaten Credico’s dog:



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               I think [Stone] loves all dogs, I don’t think [Stone] would steal a
               dog, no. . . . dog lovers like dogs, you know what I mean? . . . I
               don’t think [Stone] was going to steal the dog, no, I don’t. . . . I know
               [Stone] would have never touched that dog. All right? So it was
               hyperbole by [Stone].

TT 795:11 – 796:16. Plainly conceding the point, the Government, thereafter, dropped any

reference to Credico’s dog in its arguments to the jury.

        The facts of this case are also readily distinguishable from cases involving real threats of

the kind that the guideline is intended to address. Indeed, this is not Calvert, supra, (shooting an

elderly witness in the stomach as revenge for his testimony); nor is it United States v. Bender, 927

F.3d 1031, 1032 (8th Cir. 2019) (instructing inmates in another prison to “smash” witnesses); or

United States v. Sanchez, 676 F.3d 627, 629 (8th Cir. 2012) (witness’s husband confronted and

asked “Where’s [your wife]?,” “What would you think that [sic] if one of your children were

killed?” “What would you think if something happened to [your brother]?”); and this is most

certainly not United States v. Denham, 436 Fed. App’x 627 (6th Cir. 2011), where the following

chilling threats of unmistakable physical harm were delivered to the witness:

               You know what happens to rats? You think you’re safe? Huh? Do
               you really think you’re safe? You’ll be found. Judy is fifty-five years
               fuck old, do you know that? You mother fuckers are dead. You’re
               dead. Do you understand me? You’re dead. Do you hear that?
               You’re fucking dead. And you won’t know where it’s coming from.
               Next thing you know you’ll be fucking laying with your God-damn
               hands cut off.

Id. at 627.

        Stone’s indecorous conversations with Randy Credico were many things, but here, in the

circumstances of this nearly 20-year relationship between eccentric men, where crude language

was the norm, “prepare to die cocksucker” and conversations of similar ilk, were not threats of

physical harm, “serious acts” used as a means of intimidation, or “the more serious forms of



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obstruction” contemplated by the Guidelines. Calvert, supra; U.S.S.G. § 2J1.2 cmt.; United States

v. Serfass, 684 F.3d 548, 550 (5th Cir. 2012) (taking consideration of the record as a whole when

determining applicability of level enhancements). Stone and Credico engaged in an ongoing

dialogue in which each used harsh language as a matter of course and it was understood between

them that, as Credico put it, it was “all bark and no bite.”

       Consequently, we respectfully submit that the Court should find that an eight-level increase

under § 2J1.2(b)(1)(B) is inapplicable in the instant matter.

       B. A Three Level Increase for Substantial Interference with the Administration of
          Justice (§ 2J1.2(b)(2)) Is Unjustified.

       A three-level increase, pursuant to U.S.S.G. § 2J1.2(b)(2) is inapplicable here because (1)

Stone’s testimony before, and conduct in connection with, the House Permanent Select Committee

on Intelligence (“HPSCI”) falls outside the scope of the guideline; (2) there has been no showing

that Stone’s testimony or conduct caused the unnecessary expenditure of substantial governmental

or court resources; and (3) even were Stone’s testimony and other conduct within the scope of the

guideline, it did not cause substantial interference with the administration of justice.

       The plain language of the commentary to the guideline makes clear that this offense level

increase is unwarranted here:

               “Substantial interference with the administration of justice" includes
               a premature or improper termination of a felony investigation; an
               indictment, verdict, or any judicial determination based upon
               perjury, false testimony, or other false evidence; or the unnecessary
               expenditure of substantial governmental or court resources.

U.S.S.G. § 2J1.2 cmt. 1. Accordingly, the court in United States v. Weissman, 22 F. Supp. 2d 187,

194 (S.D.N.Y. 1998), found that—absent a finding that the conduct caused the unnecessary

expenditure of substantial governmental or court resources—the offense level increase does not

apply to testimony before Congress:

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               Because Weissman’s conduct occurred within the context of a
               congressional inquiry, rather than a criminal investigation or a
               judicial proceeding, the only circumstance specified in the
               Application Notes pertinent to the case at bar is “the unnecessary
               expenditure of substantial governmental or court resources.”

Weissman, 22 F. Supp. 2d at 194.

       Thus, here, as in Weissman, because Stone’s testimony and conduct occurred in the context

of a congressional investigation, and not a criminal investigation or judicial proceeding, the offense

level increase under § 2J1.2(b)(2) is unwarranted. Consequently, given that neither Probation nor

the government has offered any evidence, or even suggested, that Stone’s conduct caused the

unnecessary expenditure of substantial government or court resources, there is no basis to apply

an increase under this section in Stone’s Guidelines calculation.

       Moreover, even were Stone’s actions within the scope of the guideline—and they are not—

there is no basis to support a conclusion that they “resulted in substantial interference with the

administration of justice” warranting a three level increase, pursuant to U.S.S.G. § 2J1.2(b)(2).

Indeed, to find that conduct caused “substantial” interference, the conduct in question must have

had an impact of real importance or considerable value, and its impact must not be speculative,

imaginary, or illusive:

               The Application Notes for §§ 2J1.2(b)(2) [] do[es] not define the
               term “substantial.” Therefore, the Court will ascribe to the term its
               “ordinary or natural meaning.” . . . Black’s Law Dictionary defines
               substantial as “[o]f real importance; of considerable value; valuable.
               Something worthwhile as distinguished from something without
               value or merely nominal.” Black's Law Dictionary 1428 (6th
               ed.1990). In Webster's Third New International Dictionary
               substantial is defined as “(c) of substance, real, not imaginary or
               illusive.” Webster's Third New International Dictionary 2280
               (Merriam Webster 1981).

United States v. Mallory, 525 F. Supp. 2d 1316, 1319 (S.D. Fla. 2007).




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       “Courts must not speculate concerning the existence of a fact which would permit a more

severe sentence under the guidelines.” United States v. Cataldo, 171 F.3d 1316, 1321 (11th Cir.

1999) (internal citations omitted). Speculation is defined as “the practice or an instance of

theorizing about matters over which there is no certain knowledge” (Black’s Law Dictionary, 11th

ed. 2019); “the contemplation or consideration of some subject” (Dictionary.com); “ideas or

guesses about something that is not known.” (Merriam-Webster, 2019). See United States v.

McSherry, 226 F.3d 153, 157-158 (2d Cir. 2000) (“In the absence of persuasive reasons to the

contrary, terms in the Guidelines are given their ordinary meanings.”).

         Here, Probation offers a rationale for the application of this offense level increase that is

purely speculative and which is, therefore, deficient.3 In the PSR, Probation states that “[i]n this

case, the defendant’s obstruction of justice and witness tampering caused HPSCI to release a report

on its investigation into Russian interference in the 2016 election which was erroneous and lacked

valuable information which would have been provided by witnesses who chose not to testify.”

PSR ¶ 77. This statement is unreliable, non-specific, and too speculative to satisfy the requisite

burden of proof. Cataldo, 171 F.3d at 1321.

       It is speculation that HPSCI’s Report on Russian Active Measures, released March 22,

2018, is “erroneous.” To the contrary, the “Report of the Select Committee on Intelligence United

States Senate on Russian Active Measures Campaigns and Interference in the 2016 U.S. Election,”




3
  In its Receipt and Acknowledgement of the PSR, the government adopted Probation’s findings
without elaboration. The government did, however, claim to reserve the right to make additional
arguments in its sentencing submission regarding the Guidelines. Should the government submit
any rationale for the Guidelines calculations beyond those identified in the PSR and the
government’s objections to the PSR, Stone respectfully requests that the Court provide ample
opportunity to prepare a written response. The government’s unilateral reservation of a right to
offer additional justifications for the Guidelines calculation should not be permitted to undercut
Stone’s right to a full and fair opportunity to address these critical issues in advance of sentencing.
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Volumes 1 and 2, and the Special Counsel’s “Report on the Investigation Into Russian Interference

in the 2016 Presidential Election,” Volumes I and II, made findings consistent with those found in

the publicly available, redacted HPSCI Report. In other words, even had Stone testified differently

and even had Credico testified before HPSCI, the conclusions drawn in its report would not have

been materially different.

       Thus, Probation’s claim that the HPSCI Report “lacked valuable information which would

have been provided by witnesses who chose not to testify” (PSR ¶77) grossly overstates the

importance and significance of Roger Stone (and Randy Credico). The HPSCI Report states “[s]ix

of the witnesses the Committee requested to interview invoked their Fifth amendment protections

from self-incrimination, which resulted in the Committee not being able to obtain pertinent

information from those particular individuals” (Report, Appendix A – Scope and Methodology, p.

131). Of those six witnesses, only Credico is at issue here and the record is clear that any claim

that any effort by Stone to dissuade Credico from appearing before HPSCI substantially interfered

with the administration of justice is untenable because Credico knew nothing pertinent to the

investigation.

       First, over a two-year time period, at least five government entities conducted

investigations into Russian interference in the 2016 election. Before it was over, Randy Credico

testified before the Grand Jury in the Special Counsel’s investigation; was interviewed by the

Federal Bureau of Investigations six times; and produced documents in response to subpoenas that

include his Facebook messages, his Signal messages, his text messages, and several email

accounts. In the end, Credico was mentioned on five pages of the Special Counsel’s Report, not

mentioned in either volume of the Senate Intelligence Report, and not mentioned at all in the




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HPSCI Majority Report. He was mentioned on two pages of the HPSCI Minority Report, where

they noted that Stone identified Credico to the Committee.

       Thus, the record is clear that if Credico had testified before HPSCI, he would have made

the same claim to the Committee as he did to the FBI, the Office of Special Counsel, the Grand

Jury, and this Court: He was not an intermediary for Roger Stone and did not know anything about

Julian Assange or WikiLeaks vis a vis Russian interference with the election.             Whatever

information HPSCI may have been provided had Credico testified before it can hardly be

considered valuable, much less substantial, i.e., “important,” “of considerable value,”

“distinguished from something . . . merely nominal,” “of substance, real, not imaginary or illusive.”

See, Mallory, supra, at 6. To say otherwise is mere conjecture and to increase Stone’s offense

level based on such speculation would be error.

       Second, Credico, in his testimony and other statements (both public and private) has made

clear that, regardless of Stone, Credico had no intention of testifying before HPSCI:

                   o I’m a journalist. I’m not speaking in front of the committee.
                   o I have first amendment protection.
                   o If they want to cite me for a contempt that’s fine but the
                     bigger picture is [] to protect freedom of the press.
                   o I will not be talking to them
                   o For the last 2 years I’ve been a journalist at WBAI and I have
                     First Amendment protections
                   o You can trust me on behalf of the First Amendment that
                     many people died to protect none of whom sit on that
                     committee I will be willing to be cited for contempt and
                     spend a few months in jail
                   o Rest assured I will not communicate with the house Intel
                     committee about any of my communications with anybody
                     because I am protected by the First Amendment
                   o I’ve already got 10 lawyers who were working on it

Government Exhibit 065. In addition, Credico was represented by counsel who responded on his

behalf to the HPSCI subpoena and asserted his Fifth Amendment protections. Letter from Martin



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Stolar, Esq., dated December 12, 2017, to HPSCI. At trial, Credico testified regarding invoking

his Fifth Amendment rights this way during direct examination:

              Q:      Did you write a message to Mr. Stone about lawyers wanting
                      you to take the Fifth?
              A.      Yes.
              Q.      Did you receive some advice from people telling you you
                      should take the Fifth?
              A.      Some lawyers told me to take the Fifth and some lawyers
                      told me to note take the Fifth.
                                                ***
              Q.      And was Mr. Stone a reason for you taking the Fifth?
              A.      He’s one of many reasons why I took the Fifth. You know,
                      what - - I finally did, but there’s a thousand reasons why I
                      took the Fifth. I got advice from him.
TT 707:19 – 708:6.

       On cross examination, he further testified:

              Q.      So, without saying, Mr. Credico, what your lawyer said to
                      you, did you authorize your lawyer to write a letter to the
                      House Intelligence Committee, invoking your Fifth
                      Amendment right?
              A.      Yes, I did.
              Q.      In fact, you publicly have stated one of the reasons why you
                      asserted your Fifth Amendment is that you thought the
                      House investigation was a witch hunt?
              A.      Yes.
              Q.      And in addition to consulting with lawyers and many people,
                      you’ve consulted with Betsy Woodruff, a journalist.
                                                ***
              A.      I talked to her about it, yes. I talked to a lot of people about
                      it. I didn’t ask her for advice.
              Q.      And, in fact, you publicly have stated that you have said so
                      many versions of the events, that it was in your best interest
                      to take the Fifth Amendment.


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                 A.    Well, somebody said that when I was on The Intercept[]
                       radio show, that - - you know, best that you take; that was
                       one person.
                       People had - - I was encouraged by other people to take - -
                       to go out and say [assert 5th Amendment], otherwise I was
                       going to have this being held over my head for a long time,
                       even if, in fact, you know, there was the deal. David Corn
                       had put something out. This is suspicious that Credico took
                       the Fifth.
                       I didn’t want that out there. So, I knew there was going to be
                       some kind of repercussions by taking the Fifth Amendment.
                       Even though you have the right to do it, people do speculate,
                       they extrapolate - -
TT 781:25 – 783:4.
       Accordingly, “there is not basis under Guideline[] § 2J1.2(b)(2) to increase those levels for

attenuated consequences that (if they occurred) did not result from the charged conduct.” United

States v. McSherry, 226 F.3d 153, 159 (2d Cir. 2000).

       There is, therefore, no factual basis for an offense level increase pursuant to U.S.S.G. §

2J1.2(b)(2). Any harm caused by the conduct that forms the basis for Stone’s convictions for

obstruction of justice and witness tampering are adequately reflected in the guideline’s base

offense level.

       C. A Two-Level Increase for Obstruction of Justice (§ 3C1.1) Is Unjustified.

       An offense level increase, pursuant to U.S.S.G. § 3C1.1, for obstruction of justice is

inapplicable, given that Stone did not “willfully obstruct[], impede[],or attempt[] to obstruct or

impede, the administration of justice with respect to the investigation, prosecution, or sentencing

of the instant offense of conviction . . . .” Id. Such an adjustment “is not to be applied to the

offense level for [obstruction of justice] except if a significant further obstruction occurred” during

the prosecution. § 3C1.1, Note 7. “[The Guidelines’] commentary is generally authoritative unless

it violates the Constitution or a federal statute, or is inconsistent with, or a plainly erroneous


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reading of, that guideline” (internal quotation marks omitted).” United States v. Calvert, 511 F.3d

1237, 1245 (9th Cir. 2008).

       For the reasons discussed below, the litany of conduct outlined in the PSR did not cause

significant, further obstructions of the prosecution of this case. Those issues ceased well before

the trial began, were contemporaneously managed by the Court, and had no impact on the jury. In

fact, the Court repeatedly found during jury selection that, despite general knowledge among the

jury pool regarding the circumstances of this case, there was an ample pool of qualified jurors who

were not rendered biased by the publicly available information about the case.

       The facts relevant to this issue are as follows: On February 21, 2019, after some

questionable posts on social media contrary to the Court’s standing “gag” order, the Court held a

hearing to address Stone’s most recent misstep. Stone testified during the hearing and the Court

heard argument from counsel. At the close of the hearing, the Court issued a ruling prohibiting

Stone from any further discussion about “the Special Counsel’s investigation or this case or any

of the participants in the investigation of the case.” Shortly thereafter, upon realizing there may

be a possible conflict with the Court’s February 21 order, Defense counsel filed a Motion to

Clarify.

       As the Motion explained, Stone had numerous attorneys representing his various interests

in the early part of 2019, as well as in 2018, when he first wrote an Introduction to a book titled

“The Myth of Russian Collusion.” It was also in 2018 that the business transaction with the

publisher occurred. Unfortunately, the existence of the book’s Introduction was known by certain

defense counsel and not by others. It was not until after the February 21, 2019 court hearing that

the import of the Introduction was realized. As far as the statements in the Motion to Clarify are

concerned, Stone did not willfully obstruct the proceedings, as this was error on the part of defense



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counsel. Furthermore, counsels’ use of “imminent” was an oversight and should not have been

included. The Motion to Clarify was, however, filed in good faith and should not, in any case,

negatively affect Stone.

       In addition, Stone did obtain the advice of counsel prior to commenting that “Mr. Cohen’s

statement is not true.” Defense counsel did not specifically recall Stone’s February 27 email

request for guidance during the July 16, 2019 hearing. Counsel, however, affirms that a review of

relevant communications reflects that the comment was approved. It is, therefore, submitted that

defense counsel’s lack of recall at the July hearing should not be held against Stone.

       Furthermore, as was made plain during the relevant proceedings, the conduct in question

resulted in large measure from the exacerbation of a longstanding battle with anxiety that was

heightened during the pendency of this action, which Stone subsequently corrected with

therapeutic treatment. This fact cuts against a finding that the conduct was designed to have a

significant obstructive effect and, therefore, weighs against a finding that the conduct at issue

warrants an offense level increase under the § 3C1.1.

       With respect to the Court’s Minute Order dated February 3, 2020, it is respectfully

submitted that following the proceedings discussed above, Stone has complied with the Court’s

orders and conditions of release.

       Accordingly, it is respectfully submitted that none of the identified conduct was material

or supports the contention that Stone acted purposely to obstruct the proceedings. See United

States v. Makki, 47 F. Supp. 2d 25, 29 (D.D.C. 1999).




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       D. A Two Level Increase for Conduct Extensive in Scope, Planning, or Preparation
          (§ 2J1.2(b)(3)(C)) Is Unjustified.

       A two level increase, pursuant to § 2J1.2(b)(3)(C), is unjustified because Stone’s conduct

does not rise to the requisite level of “extensive in scope, planning, or preparation.” “[D]uration of

[an] offense is not equivalent to its ‘scope’ for purposes of § 2J1.2(b)(3)(C).” United States v.

Newman, 614 F.3d 1232, 1239 (11th Cir. 2010) (“The district court’s reliance on the eight-year

duration of the offense to find that it was ‘extensive in scope’ was [] error.”).

       The conduct here differs both qualitatively and quantitatively from the actions taken in

cases where the offense level increase has been affirmed. Indeed, the conduct here stands in stark

contrast to that in United States v. Jensen, 248 Fed. App’x 849 (10th Cir. 2007), in which the court

found conduct of corrections officer extensive in scope because it was “extreme and repetitive”

and included supplying inmates with clean urine samples, advance notice of random drug testing,

failing to record positive drug tests, and allowing inmates to leave the institution, all in return for

sexual favors or money. Id.

       The instant case similarly lacks the extensive planning and preparation found in United

States v. Hayes, 358 Fed. App’x 685 (7th Cir. 2009), which involves a defendant who spent months

preparing to kidnap a child by fraudulently “obtaining a passport and other identification

documents, closing bank accounts, ceasing her mortgage and car payments, and recruiting her

friend to assist in the kidnapping.” Id. at 687.

       Furthermore, the cases relied upon by the Government, United States v. Petruk, 836 F.3d

974 (8th Cir. 2016), and United States v. Rodriguez, 499 Fed. App’x 904 (11th Cir. 2012), do not

carry the weight assigned to them and are not applicable here. Indeed, both of the cases on which

the government relies involve extensive planning and conduct—including, as the court found in

one case, smuggling sperm into a secure prison facility to falsely implicate a corrections officer

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(Rodriguez) and the use of an elaborate scheme to create false exculpatory evidence for

introduction at trial in the other case (Petruk).

        Accordingly, for the reasons set forth above, an offense level increase under U.S.S.G. §

2J1.2(b)(3)(C) is unjustified.

II.     THE 18 U.S.C. §3553(a) FACTORS FAVOR A SENTENCE BELOW THE
        ADVISORY RANGE OF 15-21 MONTHS IMPRISONMENT.

        For the reasons discussed below, the factors set forth in 18 U.S.C. §3553(a), militate in

favor of a sentence below the advisory Guidelines range of 15-21 months imprisonment.

        “The Court shall impose a sentence sufficient, but not greater than necessary, to comply”

with the general purposes of sentencing.” 18 U.S.C. § 3553(a). In determining an appropriate

sentence, the Court must consider the following:

                    1. The nature and circumstances of the offense and the history
                       and characteristics of the defendant;

                    2. The need for the sentence imposed—

                        a.       to reflect the seriousness of the offense, to promote
                                 respect for the law, and to provide just punishment
                                 for the offense;

                        b.       to afford adequate deterrence to criminal conduct;

                        c.       to protect the public from further crimes of the
                                 defendant; and

                        d.       to provide the defendant with needed educational or
                                 vocational training, medical care, or other
                                 correctional treatment in the most effective manner;

                    3. The kinds of sentences available;

                    4. The [Sentencing Guidelines];

                    5. Any pertinent policy statement . . .;




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                   6. The need to avoid unwarranted disparities among similarly
                      situated defendants . . .; and

                   7. The need to provide restitution to any victims of the
                      offense.

18 U.S.C. § 3553(a) (some minor alterations not noted).

       Though the Guidelines are an important factor in the sentencing analysis, they are only

advisory and the court is generally free to impose non-Guidelines sentences. United States v. Gall,

552 U.S. 38 (2007); United States v. Booker, 543 U.S. 220 (2005). This authority is consistent

with the fundamental principle that a sentencing court should consider the full scope of a person’s

life in an effort to sentence the individual as opposed to the crime:

                “It has been uniform and constant in the federal judicial tradition for
                the sentencing judge to consider every convicted person as an
                individual and every case as a unique study in the human failings
                that sometimes mitigate, sometimes magnify, the crime and the
                punishment to ensue.” Koon v. United States, 518 U.S. 81, 113 . . .
                (1996). Underlying this tradition is the principle that “the
                punishment should fit the offender and not merely the crime.”
                Williams [v. New York], 337 U.S. [241,] 247 [(1949)] . . . .

Pepper v. United States, 562 U.S. 476, 487-88, 131 S. Ct. 1229, 1239-40 (2011) (holding that post-

sentencing rehabilitation is an acceptable basis for non-Guidelines sentence on resentencing after

appeal).

       The Supreme Court and Circuit Courts across the country encourage sentencing courts to

exercise great discretion in imposing a just and fair sentence. See e.g., Spears v. United States,

555 U.S. 261 (2009); Rita v. United States, 551 U.S. 338 (2007); Kimbrough v. United States, 552

U.S. 85 (2007); Booker, 543 U.S. at 220.         In exercising its utmost discretion to fashion an

appropriate sentence, “the sentencing judge [must] consider every convicted person as an

individual and every case as a unique study in the human failings that sometimes mitigate,




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sometimes magnify, the crime and the punishment to ensue.” Koon v. United States, 518 U.S. 81,

113 (1996).

       As we demonstrate in the sections that follow, imposing a non-Guidelines sentence on

Stone will be sufficient but not greater than necessary to achieve the goals enumerated in 18 U.S.C.

§ 3553(a).

   A. The Nature and Circumstances of the Offense Favor a Sentence Below the Advisory
      Guidelines Range.

       Roger Stone was charged and convicted on Count 1, Obstruction of Proceeding (18 U.S.C.

§1505(2)); Counts 2-6, False Statements (18 U.S.C. §1001(a)(2)); and Count 7, Witness

Tampering (18 U.S.C. § 1512(b)(1)). He voluntarily testified before the House Permanent Select

Committee on Intelligence regarding the Russian state's interference in the 2016 presidential

election.    In hindsight, notwithstanding the offense conduct, it is apparent that he had no

substantive evidence to offer.

       While Stone does not seek to minimize the seriousness of the charges, it is important to

understand the circumstances in which they arose.

       In March 2016, in the midst of the 2016 presidential election campaign, the Democratic

campaign chairman’s email accounts were compromised. In April 2016, both the Democratic

National Convention (DNC) and the Democratic Congressional Campaign Committee’s (DCCC)

files and email accounts were compromised. DNC and DCCC officials learned of the compromise

in May, but, by July 2016, the entire globe had found out. Julian Assange, and his library of

documents, WikiLeaks, became the repository for the emails.

       Several government agencies opened investigations into Russian interference in the 2016

election,” for example: the House Permanent Select Committee on Intelligence (“HPSCI”), the




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Senate Select Committee on Intelligence, the House Committee on the Judiciary, the Senate

Judiciary Committee, the Federal Bureau of Investigation, and the Office of the Special Counsel.

       In the end, the investigations yielded no evidence of the involvement of any American with

the Russian government or any agent operating on its behalf to interfere in the 2016 election. It is

also undisputed that Roger Stone had nothing to do with obtaining the compromised emails or

providing them to WikiLeaks.

       Notwithstanding the context under which this case arose, the Court narrowed the scope of

the trial to all but eliminate any reference to its genesis. With that in mind, Stone now submits

that the Court should not lose sight of the fact that, with respect to the five statements upon which

Stone’s convictions under 18 U.S.C § 1001 are based, while the government argued and the jury

found that the HPSCI Report was impacted by those statements, the conclusions in the report

issued by the Office of the Special Counsel make inescapable the fact that the information that

Stone failed to provide to HPSCI was insignificant in the broader context of the investigation into

Russian interference in the 2016 election.

       As discussed above, the Office of the Special Counsel had access to both Jerome Corsi and

Randy Credico, as well as to the communications between Stone and each of them, and found no

evidence of any connection to Russia. Stone’s convictions for obstruction of justice and witness

tampering should similarly be viewed in the broader context of the investigation. In other words,

Stone stands convicted for having sought to conceal information ultimately determined to be of no

investigative value. Neither Corsi, nor Credico, nor any of their communications provided any

useful information in the investigation into election interference.

       Stone submits further that, even were the Court to find that any of the offense level

increases challenged above are applicable—and Stone maintains that they are not—the Court



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should look beyond the technical prescriptions of the Guidelines and find that, in the circumstances

of this case, Stone’s conduct does not fall within the range of cases for which punishment of the

magnitude reflected in the Guidelines calculations in the PSR is warranted.

       Thus, though Stone does not seek to minimize the seriousness of the charges of which he

has been convicted—indeed, he is painfully aware of the severity of the situation—it is respectfully

submitted that the nature and circumstances of the conduct at issue would be amply punished with

a sentence below the advisory range of 15-21 months imprisonment.

   B. The History and Characteristics of the Defendant Favor a Sentence Below the
      Advisory Guidelines Range.

       As a 67-year-old first time offender convicted of serious but non-violent crimes, Roger

Stone’s history and characteristics support a sentence below the advisory Guidelines range of

imprisonment. As detailed in the accompanying letters from his family and friends, Roger Stone

is far more than the persona he projects in the media. As those who know him well attest, he is a

man devoted to his friends and family, but also someone who has repeatedly extended himself well

beyond the normal range to assist virtual strangers.

       The quality of his character is seen in the way he and his wife have opened their home to

care for someone too poor and sick to manage on his own; the personal interest Stone has taken in

the problems of others whom he has aided selflessly; and the strong connections he has made with

his wife’s children, whom he considers his own and who have proudly taken his name in

acknowledgment of the love and support he has provided. These details and many more are

provided in the accompanying letters, which the Court is urged to read and consider in fashioning

a sentence that takes into account the full scope Stone’s history and characteristics and not simply

the narrow public persona he has adopted to further his professional endeavors.




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       Toward that end, the following is a synopsis of Stone’s personal and professional history.

Roger Stone was born in Norwalk, Connecticut on August 27, 1952. His father, Roger, a well

driller, passed away at the age of 82 in 2013. His mother, Gloria, was a homemaker and passed

away in 2016 at the age of 91. Roger has two sisters, Lisa Nicholson and Wendy Cox.

       Roger’s story begins in rural Connecticut where, other than school, his life was all about

his family. Roger faithfully attended church with his parents and sisters and participated in

community events where they lived. Growing up in a rural area, Roger was not able to join

organized team sports, but to keep in shape and he began running and lifting weights, two activities

he continues today.

       His first exposure to politics was through elections in his primary and secondary schools.

It was there his eyes were opened to politics on a local, state, and national level. With a desire to

satisfy his curiosity about politics, he applied to and was admitted to the George Washington

University where he enrolled in 1970. In order to help pay his way through school, he found a job

on Capitol Hill that ultimately led to his hiring in 1971 at the President Richard Nixon re-election

campaign and a lifelong obsession with politics and the political process. As a result of this start

of his career in politics, before graduating, Roger left George Washington University and has never

stopped working in politics.

       Ever since landing in D.C., Roger worked very hard to succeed. Along the way, Roger

worked for U.S. Senator Bob Dole, the Ronald Reagan presidential campaign, the campaign for

both Presidents Bush, and on behalf of countless other candidates. He also played an important

role in the post-presidency reputational rehabilitation of President Richard Nixon.

       After his efforts in government and as integral parts of campaigns, Roger co-founded

Black, Manafort, and Stone, a political affairs company in Washington, DC. After the partners



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sold the company to a national public affairs company, Roger was largely self-employed and

worked on behalf of causes and people who had interests in front of the government and candidates

who wanted to be part of the government.

       Through Roger’s work in Washington, he met his first wife, Anne (Wesche) Stone. The

two were married in 1974. They had no children. They remained married until 1990 when they

divorced in Alexandria, Virginia. They remain friends to this day.

       Soon thereafter Roger met Nydia Bertran and the two married in 1991. Although, by that

year Nydia’s children, Adria and Scott, were largely grown, Roger took them under his wing and

helped guide them. The children thought so much of Roger and what he did for them and their

mother that, without adoption, they changed their last names to be his.

       Roger and Nydia now make their home in Fort Lauderdale, near Adria (a trauma nurse)

and also close to Scott (a Broward County Sheriff Deputy), his wife, and their minor children, who

are the grandchildren of Roger and Nydia.

       Many believe they know Roger because of his public persona, but few really know the

man. Throughout his life, it has been the things that have largely gone unnoticed that are a part of

Roger Stone.

   C. The Need for the Sentence to Reflect the Seriousness of the Offense, to Serve as a
      Deterrent, and to Provide Medical Care in the Most Effective Manner Warrant a
      Sentence Below the Advisory Guidelines Range.

           1. A Non-Guidelines Sentence Would Adequately Reflect the Seriousness of the
              Offense and Promote Respect for the Law.

       A non-Guidelines sentence will adequately reflect the seriousness of the offense, promote

respect for the law, and provide just punishment for the offense.

       Roger Stone was arrested under terrifying circumstances that traumatized him and his

family. He has since been the focus of public scrutiny and vilification on a constant basis. Long

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    a public figure with influence in the political arena, he now stands a convicted felon. There is,

    therefore, no denying the severe and swift consequences that his actions have brought upon him,

    even prior to the formal imposition of sentence.

            Respect for the law, however, is not furthered by rigid adherence to formulaic calculations,

    which is why the Court must consider the larger picture:

                     Imposing a sentence on a fellow human being is a formidable
                     responsibility. It requires a court to consider, with great care and
                     sensitivity, a large complex of facts and factors. The notion that
                     this complicated analysis, and moral responsibility, can be
                     reduced to the mechanical adding-up of a small set of numbers
                     artificially assigned to a few arbitrarily-selected variables wars
                     with common sense. Whereas apples and oranges may have but a
                     few salient qualities, human beings in their interactions with society
                     are too complicated to be treated like commodities, and the attempt
                     to do so can only lead to bizarre results.

    United States v. Gupta, 904 F. Supp. 2d 349, 350 (S.D.N.Y. 2012) aff'd, 747 F.3d 111 (2d Cir.

    2014) (emphasis supplied).

            In addition to the stress and strains described above, there is also a need for Stone to defend

    and respond to a barrage of civil litigation actions brought against him by a would-be witness, and

    his lawyer. The list below outlines the history of litigation against Stone in the past two years:

Case Name                                 Case Number                Type of Case              Status

DNC v Russian Federation, Stone et. al.   18-cv-03501 (SDNY)         RICO conspiracy           Dismissed

Cockrum v Trump Campaign & Stone          17-cv-1370 (DDC)           Civil rights conspiracy   Dismissed

Klayman v Stone et. al.                   2019-CA-015104 (Palm       defamation                Motion To
                                          Beach)                                               Dismiss Pending

Klayman v Stone                           19-011394 (Broward)        Tortious Interference     In Discovery

Klayman v Stone                           19-002672 (Broward)        defamation                In Discovery

Klayman & Corsi v Stone                   19-cv-1573 (DDC)           defamation                Motion To
                                                                                               Dismiss Pending



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Corsi v Stone & Newsmax                  19-13711 (Palm Beach)        defamation              Motion To
                                                                                              Dismiss Pending

Corsi v Stone                            19-cv-324 (DDC)              defamation              Motion To
                                                                                              Dismiss Pending


            It is with the above-described considerations in mind that the Court is urged to conclude

    that, in the instant matter, a sentence below the advisory Guidelines range is sufficient but not

    greater than necessary to reflect the seriousness of the offense, promote respect for the law, and to

    provide just punishment. § 3353(a)(2)(a).

                  2. A Non-Guidelines Sentence Would Provide an Adequate General and Specific
                     Deterrent.

            Correspondingly, a non-Guidelines sentence would be sufficient to satisfy the need for the

    sentence imposed to provide both a general and specific deterrent. With the respect to the public

    at large, as indicated above, the prosecution of this case and the attendant hardships on Stone and

    his family are such that, taking all of the circumstances of this case into account, no one could

    seriously contend that a sentence below the advisory Guidelines range would cause anyone to walk

    away from these proceedings believing that one can commit the offenses at issue here with

    impunity. In this case, including a trial more public than most and the corresponding loss of his

    professional standing, the process is itself significant punishment.

            Moreover, as for Stone himself, at 67-years-old, he stands before the Court having no

    criminal history whatsoever. Despite his decades in the public eye and his often brash behavior,

    his prior conformity with the law reflects the near certainty that he will never again find himself

    the subject of criminal prosecution. It is all but guaranteed that the “perfect storm” that led to

    Stone’s actions at the heart of this case are unlikely ever again to materialize in his orbit.

            Stone’s lack of any criminal history, combined with his age are strong indicators that Stone

    has no likelihood of recidivism. His lack of criminal history standing alone justifies a variance.

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See United States v. Tomko, 562 F.3d 558 (3d Cir. 2009) (en banc) (tax offense); United States v.

Autery, 555 F.3d 864 (9th Cir. 2009) (sentencing defendant guilty of possession of pornography

to supervised release).

       Empirical data show that defendants with no prior criminal history have the lowest rate of

recidivism. United States Sentencing Commission, Recidivism Among Federal Offenders: A

Comprehensive Overview (March 2016).4 Similarly, recidivism rates drop considerably for

defendants sentenced for their first conviction over the age of 60. Id. at 23; see also United States

v. Bullion, 466 F.3d 574, 576 (7th Cir. 2006).

       Accordingly, it is respectfully submitted that Stone’s exceptionally low risk of recidivism

favors a sentence below the advisory Guidelines range.

           3. A Non-Guidelines Sentence Would Provide Medical Care in the Most Effective
              Manner.

       In addition to the fact that his age renders him a low risk of recidivism, his health is a

further factor that weighs in favor a sentence below the advisory Guidelines range. § 3553(a)(2)(d)

(a sentence should take into account the need to provide medical care in the most effective

manner). Even in the pre-Booker landscape, serious medical conditions provided the basis for a

below Guidelines sentence:

               (1) Age may be a reason to depart downward only if and to the extent
               permitted by § 5H1.1.” U.S.S.G. § 5K2.22. Under § 5H1.1, “[a]ge
               may be a reason to depart downward in a case in which the defendant
               is elderly and infirm and where a form of punishment such as home
               confinement might be equally efficient as and less costly than
               incarceration.” U.S.S.G. § 5H1.1.




4
       Available           at:         https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/research-publications/2016/recidivism_overview.pdf.
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United States v. Chase, 367 Fed. Appx. 979, 983 (11th Cir. 2010) cert. denied, 131 S. Ct. 167

(U.S. 2010) (unpublished).      Thus, the Guidelines recognize the need to account for older

defendants who suffer from serious medical problems. U.S.S.G. § 5H1.1; United States v. Brooke,

308 F.3d 17, 20 n. 2 (D.C. Cir. 2002); United States v. Irey, 612 F.3d 1160, 1218 (11th Cir. 2010)

cert. denied, 131 S. Ct. 1813 (U.S. 2011); United States v. Stumpner, 174 Fed. App’x 522, 524

(11th Cir. 2006) (unpublished); United States v. Powell, 576 F.3d 482, 499 (7th Cir. 2009); United

States v. Lee, 454 F.3d 836, 839 (8th Cir. 2006).

       Post-Booker, courts have routinely found that a sentencing court is free to impose a non-

Guidelines sentence based upon the health needs of a defendant. See, e.g., United States v. Davis,

458 F.3d 491, 498 (6th Cir.2006) (“[A] trial court ... has a freer hand to account for the defendant's

age in its sentencing calculus under § 3353(a) than it had before Booker”.); United States v. Smith,

445 F.3d 1, 5 (1st Cir.2006) (holding district court did not err, inter alia, by considering age

because “[t]hat a factor is discouraged or forbidden under the guidelines does not automatically

make it irrelevant”). United States v. Lee, 454 F.3d 836, 839 (8th Cir.2006); United States v.

Simmons, 470 F.3d 1115, 1130-31 (5th Cir. 2006).

       Accordingly, as detailed in the PSR, it is respectfully submitted that Stone’s medical

conditions warrant the imposition of a non-Guidelines sentence. PSR ¶¶ 103.

   D. The Kinds of Sentences Available.

       As an alternative to prison, probation or probation with a special condition of home

detention for a period of time are viable alternatives in the instant matter. In light of the numerous

factors discussed above that render this case outside the heartland of the run-of-the-mill case, it is

respectfully submitted that a non-incarceratory sentence is appropriate here. The nature and

circumstances of the offense, Stone’s history and characteristics, including his low likelihood of



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    recidivism and significant health concerns, all favor a sentence that provides punishment without

    incarceration.

        E. The Need to Avoid Unwarranted Disparities Favors a Non-Guidelines Sentence.

             Roger Stone is but one of approximately 38 individuals or entities to face charges

    stemming from the investigations into interference in the 2016 election. Of those who have been

    sentenced, the following warrant consideration:

Defendant         Case Number                        Description                    Sentence

Paul Manafort     17-CR-0020          Manafort was charged with seven               73 months
                  (D.D.C)             counts in the District of Columbia and        (30 months concurrent to
                                      pleaded guilty to conspiracy against the      E.D.V.A.)
                                      United States and to witness tampering
                                      in the D.C. case.

Paul Manafort     18-CR-00083         A jury found Manafort guilty on eight         47 months
                  (E.D.Va.)           of 18 counts within the Eastern District
                                      of Virginia. The guilty charges included      Total between both is 7.5 years.
                                      multiple counts of false income tax
                                      returns, failure to file reports of foreign
                                      bank accounts, and bank fraud.

Michael Cohen     18-CR-00850         Pleaded guilty to making false                2 months for the false statement
                  (S.D.N.Y.)          statements to Congress and campaign           to Congress and 36 months on
                                      finance and tax and banking charges.          other tax and banking charges.
                                                                                    Time to be served concurrently.

Richard Pinedo    18-CR- 00024        Pinedo pleaded guilty to one count of         6 months in prison and 6 months
                  (D.D.C)             identity fraud and was sentenced to           home confinement
                                      serve six months in prison, followed by
                                      six months of home confinement and
                                      100 hours of community service.
                                      (Helped the Russian Troll Farm)

Rick Gates        17-CR-00201         Was charged in two separate federal           45 days in jail followed by 3
                  (D.D.C)             courts in connection to financial crimes,     years probation
                                      unregistered foreign lobbying and on
                                      allegations that he made false
                                      statements to federal prosecutors. Gates
                                      pleaded guilty in Washington, D.C. in
                                      February 2018 on counts of conspiracy
                                      against the United States and lying to
                                      federal prosecutors.



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Alexander         18-CR-00031         He had pleaded guilty to lying to federal 30 days
Vanderzwann       (D.D.C.)            agents about his contacts with Trump
                                      campaign deputy chair Rick Gates in
                                      September 2016. 30 Day sentence


George            17-CR-00182         Arrested for lying to FBI investigators   14 days
Papadopoulos      (D.D.C.)            about his correspondence with foreign
                                      nationals with close ties to senior
                                      Russian government officials. He
                                      pleaded guilty in October 2017. In
                                      September 2018, Papadopoulos was
                                      sentenced to 14 days incarceration, 200
                                      hours of community service and a
                                      $9,500 fine.


Sam Patten        18-CR-00260         An American lobbyist admitted             3 years probation
                  (D.D.C.)            brokering access to President Trump’s
                                      inauguration for a pro-Russian
                                      Ukrainian oligarch, a violation of
                                      FARA.


             When viewed in the context of the other defendants sentenced for similar offenses

    stemming from the same investigation, the need to avoid disparities between similarly situated

    defendants indicates the applicability of a non-Guidelines sentence in the instant matter.



                                              CONCLUSION

             For the foregoing reasons, it is respectfully submitted that the Court should impose a non-

    Guidelines sentence of probation with any conditions that the Court deems reasonable under the

    circumstances.




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                                   Respectfully submitted,
                                   By: /s/_______________

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 10, 2020, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day

on all counsel of record parties identified on the attached service list in the manner specified, either

via transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

manner for those counsel or parties who are not authorized to receive electronically Notice of

Electronic filing.




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